                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                     SOUTHERN DIVISION

    AMERICAN FEDERATION OF
    TEACHERS, et al.

                     Plaintiffs,

            v.                                                No. 8:25-cv-00430-DLB

     SCOTT BESSENT, et al.,

                    Defendants.

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           I, Thomas H. Krause, Jr., declare under penalty of perjury:

    1. I am employed as the Senior Advisor for Technology and Modernization at the Department

       of the Treasury. I started serving in this role on January 23, 2025. This role is currently

       unpaid, and I am not seeking compensation, as permissible by law. I am also designated as a

       Special Government Employee (SGE). While in this Treasury role, I have also maintained

       my employment as Chief Executive Officer (CEO) of Cloud Software Group, Inc., which is a

       privately held company comprised of several enterprise software businesses. Treasury’s

       ethics office determined, based on my role as an SGE, that this arrangement was permissible.

       In addition to serving as Senior Advisor for Technology and Modernization, as of February

       13, 2025, I am also performing the duties of the Fiscal Assistant Secretary.

    2. My role at Treasury as Senior Advisor for Technology and Modernization was created to help

       effectuate the mission of the President’s Department of Government Efficiency (DOGE).

       Under the President’s January 20, 2025 Executive Order establishing the U.S. DOGE Service

       (USDS/DOGE) as a temporary organization within the Executive Office of the President that
       seeks to maximize governmental efficiency and productivity, the President directed each

       Agency Head to establish a DOGE team of at least four employees, which may include

       Special Government Employees, within 30 days. In this role, I am responsible, among other

       duties, for reducing and eliminating improper and fraudulent payments; waste, fraud, and

       abuse; and improving the accuracy of financial reporting. To that end, I am focused on

       improving the controls, processes, and systems that facilitate payments and enable

       consolidated financial reporting. I serve as the DOGE team lead for the Treasury Department

       (Treasury DOGE Team).

    3. Currently, I am the only Treasury DOGE team member. A second Treasury DOGE team

       member, Marko Elez, began working at the Treasury Department on January 21, 2025, but

       resigned from his role on February 6, 2025. Marko Elez is a highly qualified software

       engineer who previously worked at several of Elon Musk’s companies, including SpaceX and

       X (formerly Twitter). In January, USDS/DOGE recommended to me, and to incoming

       Treasury leadership, that Mr. Elez be selected as the Treasury DOGE Team’s technical team

       member. Treasury hired Mr. Elez as a Special Advisor for Information Technology and

       Management. In this role, Mr. Elez was a Treasury employee tasked with working closely

       with engineers at the Bureau of the Fiscal Service (BFS) on information technology (IT)

       matters in service of BFS’s mission to promote financial integrity and operational efficiency

       of the federal government through accounting, financing, collection, payment, and other

       relevant BFS services. On February 6, 2025, Mr. Elez submitted his resignation from this

       role. 1 On that same day, he turned in his Treasury laptop, BFS laptop, access card, and other




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 Treasury is seeking to hire a new candidate to fill Mr. Elez’s previous role. However, we will ensure that any such
new hire complies with relevant court orders, including any TROs to the extent they apply when that person is
onboarded.
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   government devices; his BFS systems access was terminated; and he has not conducted any

   work related to the BFS payment systems since that date.

4. Although I coordinate with officials at USDS/DOGE, provide them with regular updates on

   the team’s progress, and receive high-level policy direction from them, I am not an employee

   of USDS/DOGE. My role on the Treasury DOGE Team is to find ways to use technology to

   make the Treasury Department more effective, more efficient, and more responsive to the

   policy goals of this Administration.

5. In my role performing the duties of the Fiscal Assistant Secretary, I am the official primarily

   responsible for overseeing the activities of the Bureau of the Fiscal Service (BFS), which

   manages the government’s accounting, central payment systems, and public debt, among

   other tasks, and which serves as the central payment clearinghouse for all payments to and

   from federal agencies. BFS is responsible for disbursing the majority of U.S. Government

   payments, valued at more than $5 trillion annually.

6. I bring to my work at Treasury a wealth of experience from my long and successful business

   career in the technology industry, helping make major software enterprises more efficient,

   effective, innovative, and profitable. As noted above, I am currently the CEO of Cloud

   Software Group, one of the largest privately held enterprise software companies globally.

   Over the last two years, we have dramatically improved the company’s effectiveness and

   efficiency by, among other things, improving our business processes and integrating and

   modernizing our technology systems. Prior to my employment at Cloud Software Group, I

   spent over a decade at Broadcom, where I was an executive officer serving as CFO and most

   recently as President of Broadcom Software. Broadcom is one of the most valuable

   companies in the world today and was built largely by acquiring underperforming



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       semiconductor and enterprise software businesses and improving their effectiveness and

       efficiency. I am proud of this work, and I bring this focus on effectiveness and efficiency to

       my work for the Treasury Department and in service of the President’s DOGE mission, to

       help maximize value for the American taxpayer and make our Government better for future

       generations.

    7. As illustrated by several reports released by the Government Accountability Office (GAO),

       we have our work cut out for us. On January 16, 2025, GAO released a report entitled

       “Financial Audit: FY2024 and FY2023 Consolidated Financial Statements of the U.S.

       Government.” In the report, GAO summarizes that they were not able to determine if the

       Financial Report of the U.S. Government is fairly presented. Among other reasons, GAO

       highlighted “problems in accounting for transactions between federal agencies.” GAO found

       many material weaknesses including “the federal government’s inability to determine the full

       extent to which improper payments, including fraud, occur and reasonably assure that

       appropriate actions are taken to reduce them.” GAO also reported that Treasury and Office of

       Management and Budget (OMB) officials expressed their continuing commitment to

       addressing the problems this report outlines. In short, the GAO report identifies the Federal

       government’s inability to account for all of the improper payments including waste, fraud and

       abuse across federal agencies.

    8. On September 10, 2024, the GAO released a report entitled “Payment Integrity: Significant

       Improvements are Needed to Address Improper Payments and Fraud.” The report found that

       since 2003, cumulative improper payments 2 by executive branch agencies have totaled about




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 Improper payments and fraudulent payments are related but distinct concepts. An improper payment is a payment that
should not have been made, or that was made with an incorrect amount; fraudulent payments occur due to willful
misrepresentation. All fraudulent payments are improper, but not all improper payments are fraudulent.
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   $2.7 trillion dollars. Some of GAO’s top concerns included fraudulent or improper Earned

   Income Tax Credit refunds, Social Security payments, unemployment insurance payments,

   and Medicare and Medicaid payments. In fiscal year 2023 alone, federal agencies estimated

   $236 billion in improper payments across more than 70 federal programs. In addition, GAO

   estimated that the total annual financial losses across the government from fraud are between

   $233 and $521 billion. These numbers are truly staggering—billions and billions in hard-

   earned American taxpayer dollars are being misspent every year. GAO highlighted a number

   of steps that Congress and federal agencies could take to help reduce fraud and improper

   payments, including that “[a]gencies should improve oversight to ensure that funds aren’t

   paid to ineligible recipients” and that “[a]gencies should improve their collection and use of

   data for preventing and detecting fraud.”

9. Similarly, GAO has identified areas for improvement in BFS’s systems related to identifying

   and tracing transactions to determine whether they were complete and properly recorded in

   the correct general ledger accounts and line items within the Schedules of the General Fund.

   See GAO Report, “Financial Statement Audit: Bureau of the Fiscal Service’s FY22

   Schedules of the General Fund” (March 30, 2023). Specifically, GAO has found inconsistent

   reporting, lack of traceability, and need for improved controls with the Treasury’s Central

   Accounting and Reporting System (CARS), which federal agencies use to track their

   spending for budgetary and accounting purposes. These kinds of improvements and others

   can enhance BFS’s ability to ensure accountability in the spending of taxpayer dollars.

10. BFS is well positioned to help agencies and the federal government holistically understand

   and take stock of the problems GAO has reported on, and assist agencies in the government-

   wide mission to stop fraudulent and improper payments, including by enhancing our ability



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   to help agencies identify payments that may potentially be directed to fraudulent accounts,

   payments to individuals or entities which may be barred from receiving government

   payments, payments that are potentially improperly sent to deceased individuals, may have a

   mismatch between payee and account data, or have other indicators of problems.

11. For this reason, an important aspect of the President’s DOGE efforts has been to quickly

   place me into the Treasury Department so I can understand how BFS’s end-to-end payment

   systems and financial report tools work, recommend ways to update and modernize those

   systems to better identify potentially improper and fraudulent payments, and find ways for

   BFS to assist federal agencies in responding to statutes, regulations, and Executive Orders

   that affect the Government’s payment authorities and spending priorities.

12. As soon as I arrived at the Treasury Department, I met with Treasury leadership to begin

   operationalizing the Treasury DOGE Team’s work. This early work included: (1) initiating

   conversations with BFS regarding our shared payment integrity and efficiency goals, and

   setting up a plan to achieve those goals; and (2) ensuring that the Treasury DOGE Team was

   leveraging its unique technological expertise to help operationalize the President’s policy

   priorities for the early days of the Administration, including by helping identify payments

   that may be improper under his new Executive Orders.

13. Coming out of these early conversations, on January 26, 2025, BFS initiated a 4-6 week

   payment process engagement plan (“engagement”) in which BFS would support the Treasury

   DOGE Team in understanding payment processes and identifying opportunities to advance

   payment protection, government efficiency, and fraud reduction goals. The objective of the

   engagement is to gain insight into the full, end-to-end payment process across multiple BFS




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   payment systems, and to identify data gaps that, if resolved, would make the system to work

   more efficiently and securely.

14. One initial goal of the engagement was to ensure that all payments through BFS’s payment

   systems included Treasury Account Symbols (TAS) and Business Event Type Codes

   (BETCs), which are used to identify what type of payment and accounts each payment

   request is associated with. These are the kinds of enhanced controls suggested in the March

   30, 2023 GAO Report. BFS has three separate primary payments systems (PAM, ASAP,

   ITS.gov) that support payments on behalf of nearly 250 agencies. These payment systems

   feed into CARS, which is a system that agencies use to track how payments should be

   accounted for budgetary purposes. PAM, or Payment Automation Manager, is the most

   widely used of BFS’s payment systems. Within PAM, there are two types of payments,

   known as Type A and Type B—Type A is for high value, low volume payments, while Type

   B applies to lower value, higher volume payments. At present, a significant number of Type

   B payments are often missing TAS and BETC codes, meaning that payor agencies are

   required to modify the payment records in CARS well after payments have been certified and

   processed. As a result, I believe that certain of these payments cannot be accounted for

   accurately in CARS, and cannot be correctly connected in CARS to particular programs or

   purposes even after the money has been spent. The Treasury DOGE Team agreed to help

   address this issue as part of its preliminary work plan, in support of its goal of modernizing

   and identifying efficiencies.

15. Because an important part of our work was to understand the full end-to-end payment

   process, across multiple payment systems, this work required review of the source code for

   BFS’s payment systems and databases across multiple BFS payment systems as well as the


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       ability to review sensitive payment data. The Treasury Secretary, through his Chief of

       Staff, approved the engagement in the early days of the new Administration. Because

       such access could present risks, including potential disruptions to BFS’s payments

       systems, cybersecurity vulnerabilities, insider threat risks, and other risks that are inherent

       to any user access to sensitive IT systems, BFS recommended multiple mitigation

       measures. While these measures could not fully guarantee that the risks would not

       materialize, they would significantly reduce their likelihood. BFS and the DOGE Team

       implemented a number of mitigation measures, including physical and technical controls,

       instructions on proper data handling and safeguarding, and BFS staff oversight, to protect

       sensitive data and minimize the potential of disruptions to systems from the DOGE

       Team’s work, as further explained in the accompanying Declaration of Joseph Gioeli.

    16. The engagement remains in its initial stages—the Treasury DOGE Team was still in the

       process of being granted the agreed-upon levels of access to BFS databases and source

       code when Mr. Elez resigned. To my knowledge, as of the date of his resignation, Mr.

       Elez had access to and was analyzing copies of the source code for certain BFS payment

       systems in a secure, contained environment that was not connected to any production or

       test environments; thus, Mr. Elez had no ability to change BFS payments or the BFS

       payment system. Further, Mr. Elez had read-only access to the PAM and SPS 3 payment

       databases, subject to the agreed-upon mitigations and BFS oversight. My only access to

       these systems was so-called “over the shoulder” access to watch as other people were

       working within the systems or with data from the system. However, on February 8, 2025,



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  As noted in the Gioeli Declaration, I understand from BFS that there was briefly an error that provided Mr. Elez
read/write access to the SPS system, but that Mr. Elez did not access that system during that time, and was likely
unaware that he had any such read/write access.


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   an Order issued by Judge Vargas in a related matter in the Southern District of New York,

   see State of New York v. U.S. Dep’t of Treasury, No. 1:25-cv-1144-JAV (S.D.N.Y.), Dkt.

   No. 6, as amended by Dkt. No. 28 (Feb. 11, 2025), restricted my access to certain BFS

   data and systems. I have received guidance on compliance with that Order from Treasury

   attorneys and am complying with that guidance.

17. As part of the Treasury DOGE Team’s efforts to assist payor agencies in identifying

   payments that may have been improper under the President’s Executive Orders, we

   received direction from Treasury leadership that the Treasury DOGE Team and BFS help

   agencies effectuate the President’s Executive Orders requiring pauses to certain types of

   financial transactions, including with respect to foreign development assistance.

   Specifically, under the President’s January 20, 2025 Executive Order, entitled

   “Reevaluating and Realigning United States Foreign Aid,” the President required that

   agencies pause all foreign development assistance for assessment of programmatic

   efficiencies and consistency with United States foreign policy. Section 3(e) of the order

   authorized the Secretary of State to issue waivers that would authorize specific payment

   programs to move forward notwithstanding the pause.

18. The Treasury DOGE Team, with assistance from BFS, was well positioned to facilitate

   the State Department’s review of potentially applicable payments to determine if an

   exemption under Section 3(e) applied. Upon direction from Treasury leadership, we

   worked with BFS to identify particular categories of payments potentially implicated by

   the Executive Order, that should be reviewed by the State Department prior to payment,

   consistent with the Executive Order’s requirements.

19. Specifically, the Treasury DOGE Team and BFS developed a process that would allow




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   the State Department to review such payments prior to the payor agency’s certification

   of the payments for BFS processing. In the normal course, when an agency initially

   provides a payment file to BFS through its PAM system, BFS conducts certain reviews

   of that file (known as “pre-edit”) before requesting that the agency certify the payment,

   after which point the file is processed through BFS’s systems. An example of a check

   that occurs during the pre-certification phase is to compare the payments in the file

   against the Do Not Pay working system, which is used to identify payments that may be

   improper or fraudulent. If transaction(s) in a payment file lead to a match when

   screened through the Do Not Pay working system, BFS notifies the submitting agency,

   which is given an opportunity to reexamine the payment file to determine whether to

   ultimately certify it for processing.

20. Our work to implement the President’s foreign aid Executive Order was intended to

   operate similarly. The plan we implemented included identifying payments files in the

   pre-edit phase, prior to certification and processing, that may fall within the scope of the

   Executive order and, thus, require review by the State Department, as the authorized

   agency under the Executive Order, to determine whether they fall within the scope of the

   Executive Order but should receive a waiver, or whether instead the payor agency should

   pause the payment pursuant to the Executive Order.

21. Starting on January 31, 2025, BFS and the Treasury DOGE Team collaborated to

   operationalize this process for the State Department, by identifying incoming payments

   that matched certain Treasury Account Symbols (TAS) associated with foreign aid

   payments, and flagging those payments for the State Department for review consistent

   with the Executive Order. BFS and the Treasury DOGE Team emphasized to the State



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Department that its review of identified payments should be conducted within one

business day to minimize delays where payment should be authorized. At no point did

BFS refrain from transmitting a payment that had been duly certified by the payor agency,

because, once certified, BFS is obliged to process the payment. As described further in the

Declaration of Vona S. Robinson filed concurrent with my declaration, only two sets of

payments have thus far been flagged through this process; the first, on February 7, 2025

was determined by the State Department not to fall within the scope of the Executive

Order. Those payments proceeded as planned. The second, on February 10, was flagged

for the State Department and later canceled by the requesting agency.




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